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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


    MAVERICK MEDIA GROUP, INC., et al.,

          Plaintiffs,

    v.                                                  CASE NO: 8:02-cv-947-T-23TBM

    HILLSBOROUGH COUNTY, FLORIDA,

         Defendant.
    ____________________________________/



                                             ORDER

          Pursuant to 28 U.S.C. § 636 and Local Rule 6.01(b), the court referred the

    parties’ cross-motions for summary judgment (Docs. 91, 92) to the United States

    Magistrate Judge for a report and recommendation. Following the Magistrate Judge’s

    March 9, 2007, report and recommendation (Doc. 134), the plaintiffs object (Doc. 136)

    and the defendant responds (Doc. 142) in opposition to the objections.

          A de novo determination of those portions of the report and recommendation to

    which the plaintiffs object reveals that the objections either are unfounded or otherwise

    require no different resolution of the motions. Accordingly, the plaintiff’s objections (Doc

    136) are OVERRULED and the Magistrate Judge’s report and recommendation (Doc.

    134) is ADOPTED. The plaintiffs’ motion (Doc. 91) for partial summary judgment is

    DENIED and the defendant’s motion (Doc. 92) for summary judgment is GRANTED.
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    The Clerk is directed to enter judgment in favor of the defendant and against the

    plaintiffs and close the case.

          ORDERED in Tampa, Florida, on May 16, 2007.




    cc:   US Magistrate Judge
          Courtroom Deputy




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